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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,
                                        CRIMINAL FILE NO.
        v.                              1:08-CR-363-5-TWT
GUSTAVO MARTINEZ,
   Defendant.


                                    ORDER


     This is a criminal   action.   It is before the Court on the Report and

Recommendation [Doc. 716] of the Magistrate Judge recommending dismissing

without prejudice the Defendant’s Motion to Vacate Sentence [Doc. 700].   The

Court approves and adopts the Report and Recommendation as the judgment of the

Court. This action is DISMISSED without prejudice.

     SO ORDERED, this 10 day of September, 2012.



                             /s/Thomas W. Thrash
                             THOMAS W. THRASH, JR.
                             United States District Judge
